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                                                                                                                                                 1/30/23 3:11PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW HAMPSHIRE

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Plourde Sand & Gravel Co., Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  519-523 W. River Rd.                                            P.O. Box 220
                                  Hooksett, NH 03106                                              Suncook, NH 03275
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Merrimack                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Plourde Sand & Gravel Co., Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Plourde Sand & Gravel Co., Inc.                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Red Hat Realty, LLC                                           Relationship               Affiliate

                                                     District    New Hampshire                When      1/30/23                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



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Debtor   Plourde Sand & Gravel Co., Inc.                                              Case number (if known)
         Name


16. Estimated liabilities      $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Plourde Sand & Gravel Co., Inc.                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 30, 2023
                                                  MM / DD / YYYY


                             X   /s/ Daniel O. Plourde                                                    Daniel O. Plourde
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Sole Shareholder and Vice President




18. Signature of attorney    X   /s/ William S. Gannon BNH 01222                                           Date January 30, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William S. Gannon BNH 01222
                                 Printed name

                                 William S. Gannon PLLC
                                 Firm name

                                 740 Chestnut Street
                                 Manchester, NH 03104
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     603 621-0833                  Email address      bgannon@gannonlawfirm.com

                                 0892 NH
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:    DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,585,071.00
      From 4/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $2,006,516.00
      From 4/01/2022 to Filing Date
                                                                                          Other


      For year before that:                                                               Operating a business                             $2,061,984.00
      From 4/01/2021 to 3/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Plourde Sand & Gravel Co., Inc.                                                    Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              Greenlake Investment                                 10/26/2022 -                     $75,000.00           Secured debt
              1416 El Centro St, Suite 200                         1/11/2023                                             Unsecured loan repayments
              South Pasadena, CA 91030                             ($5,000 per
                                                                                                                         Suppliers or vendors
                                                                   week)
                                                                                                                         Services
                                                                                                                         Other


      3.2.
              Davis Fuels of Epsom                                 10/26/2022 -                     $63,275.96           Secured debt
              P.O. Box 101                                         1/11/2023                                             Unsecured loan repayments
              Epsom, NH 03234
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              PC Solutions                                         11/9/2022 -                      $12,213.00           Secured debt
              102 Riverway Place                                   11/18/2022                                            Unsecured loan repayments
              Bedford, NH 03110                                                                                          Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.4.
              Dave Moody                                           11/29/2022 -                       $7,834.00          Secured debt
              176 Clouogh Hill Rd.                                 1/23/2023                                             Unsecured loan repayments
              Loudon, NH 03307
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Daniel Plourde                                       1/28/2022 -                      $65,163.73         Payroll
              P.O. Box 220                                         1/20/2023
              Suncook, NH 03275
              Owner/President

      4.2.    Dawn Plourde                                         1/28/2022 -                      $48,626.20         Payroll
              P.O. Box 220                                         1/20/2023
              Suncook, NH 03275
              Director

      4.3.    Loudon Village Country Store, LLC                    1/25/2022 -                      $49,481.77
              40 S. Village Rd                                     1/25/2023
              Loudon, NH 03307
              Affiliate

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



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Debtor       Plourde Sand & Gravel Co., Inc.                                                    Case number (if known)



          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Cross Machine, Inc. v Plourde                                        Coos Superior Court                           Pending
              Sand & Gravel Co., Inc.                                              55 School St., Suite 301                      On appeal
              214-2017-CV-00050                                                    Lancaster, NH 03584
                                                                                                                                 Concluded

      7.2.    Mega-X, LLC v Plourde Sand                                           NH Circuit Court                              Pending
              & Gravel Co. Inc.                                                    6th Circuit-District                          On appeal
              447-2019-SC-00236                                                    Division-Hooksett
                                                                                                                                 Concluded
                                                                                   101 Merrimack St.
                                                                                   Hooksett, NH 03106

      7.3.    Granite Woods, LLC v                                                 Merrimack Superior Court                      Pending
              Plourde Sand & Gravel Co.,                                           5 Court Street                                On appeal
              Inc.                                                                 P.O. Box 2880
                                                                                                                                 Concluded
              217-2017-CV-00495                                                    Concord, NH 03302-2880

      7.4.    Dead River Company, LLC v                                            Merrimack Superior Court                      Pending
              Plourde Sand & Gravel Co.,                                           5 Court Street                                On appeal
              Inc.                                                                 Concord, NH 03301
                                                                                                                                 Concluded
              217-2022-CV-01039

      7.5.    Conservation Law                                                     USDC for the District of NH                   Pending
              Foundation, Inc. v Plourde                                           55 Pleasant St #110                           On appeal
              Sand & Gravel Co., Inc.                                              Concord, NH 03301
                                                                                                                                 Concluded
              1:13-cv-214-SM

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

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Debtor        Plourde Sand & Gravel Co., Inc.                                                     Case number (if known)



               Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     William S. Gannon PLLC
                740 Chestnut Street
                Manchester, NH 03104                     Retainer                                                                                $10,000.00

                Email or website address
                bgannon@gannonlawfirm.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.




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Debtor      Plourde Sand & Gravel Co., Inc.                                                      Case number (if known)




          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Voya                                                                                EIN: PH1119

                    Has the plan been terminated?
                      No
                       Yes


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      Plourde Sand & Gravel Co., Inc.                                                      Case number (if known)




         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

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Debtor      Plourde Sand & Gravel Co., Inc.                                                     Case number (if known)



25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Hession & Pare                                                                                                     2 years +
                    62 Stark St.
                    Manchester, NH 03101
      26a.2.        Dawn M. Plourde                                                                                                    2 years +
                    P.O. Box 220
                    Suncook, NH 03275

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Hession & Pare                                                                                                     2 years +
                    62 Stark St.
                    Manchester, NH 03101

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Hession & Pare
                    62 Stark St.
                    Manchester, NH 03101
      26c.2.        Plourde Sand & Gravel Co Inc
                    P.O. Box 220
                    Suncook, NH 03275-0220

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
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Debtor      Plourde Sand & Gravel Co., Inc.                                                    Case number (if known)



             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Daniel O. Plourde                      P.O. Box 220                                        Sole equity holder and                  100%
                                             Suncook, NH 03275                                   President

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Dawn Plourde                           P.O. Box 220                                        Director                                0% (none)
                                             Suncook, NH 03275



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Mary L. Plourde (deceased)                                                                 Sole equity holder                 2018 until death
                                                                                                                                    2/25/2022


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
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Debtor      Plourde Sand & Gravel Co., Inc.                                                     Case number (if known)



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         January 30, 2023

/s/ Daniel O. Plourde                                           Daniel O. Plourde
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Sole Shareholder and Vice President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
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Fill in this information to identify the case:

Debtor name         Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                $500.00


2.        Cash on hand                                                                                                                                $250.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     TD Bank                                           Checking (Oper.)                      4530                                       $437.48




          3.2.     TD Bank                                           Checking (P/R)                        3813                                       $192.61




          3.3.     TD Bank                                           Checking (ACH)                        3329                                       $104.88



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $1,484.97
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                     page 1
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Debtor       Plourde Sand & Gravel Co., Inc.                                                Case number (If known)
             Name


      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   120,000.00       -                                   0.00 = ....                $120,000.00
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                        $120,000.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials
          Aggregate raw sand
          stone (located in
          Hooksett)                          Yearly                                       $0.00      Usage                            $600,000.00


          Aggregate raw sand
          stone (located in
          Allenstown)                        Yearly                                       $0.00      Usage                          $2,000,000.00



20.       Work in progress

21.       Finished goods, including goods held for resale
          Prepared material for              Monthly as
          sale                               needed                                       $0.00      Usage                            $150,000.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                      $2,750,000.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       Plourde Sand & Gravel Co., Inc.                                                Case number (If known)
             Name


             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
                                                                         debtor's interest          for current value       debtor's interest
                                                                         (Where available)

39.       Office furniture
          desks, tables, cabinets, etc. (value estimated
          by equity holder)                                                               $0.00                                       $10,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office equipment (value estimated by equity
          holder)                                                                         $0.00                                       $30,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                           $40,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                       page 3
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Debtor      Plourde Sand & Gravel Co., Inc.                                           Case number (If known)
            Name

         General description                                       Net book value of         Valuation method used   Current value of
         Include year, make, model, and identification numbers     debtor's interest         for current value       debtor's interest
         (i.e., VIN, HIN, or N-number)                             (Where available)

47.      Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

         47.1.   1995 Ford LT900 Serial #
                 1FD2A90X75SVA64060                                               $0.00      Forced value                      $25,000.00


         47.2.   2005 Kenworth T800 Serial #
                 1NKDXUTX15J072578 (estimated forced
                 sale value)                                                      $0.00                                        $40,000.00


         47.3.   2006 Sterling Tractor Serial #
                 2FWJAZDE26AV67268 (estimated
                 forced sale value)                                               $0.00                                        $35,000.00


         47.4.   2006 Sterling LT9500 Serial #
                 2FZHAZCV56AV55568 (estimated forced
                 sale value)                                                      $0.00                                        $45,000.00


         47.5.   2006 Sterling LT9500 Serial #
                 2FZHAZCV76AV55572 (estimated forced
                 sale value)                                                      $0.00                                        $45,000.00


         47.6.   Trailer - 2005 KME Dump Serial #
                 1K9SD36335K226116 (estimated forced
                 sale value)                                                      $0.00                                        $25,000.00


         47.7.   Trailer - 1985 Rodgers Lowbed Serial #
                 NH010343                                                         $0.00      Forced value                      $10,000.00


         47.8.   Trailer - 1994 Delo Flatbed Serial #
                 2D9FF45B9R1005092 (estimated forced
                 sale value)                                                      $0.00                                        $15,000.00


         47.9.   Loader - 2003 Komatsu WA380 Serial #
                 A51499 (estimated forced sale value)                             $0.00                                        $40,000.00


         47.10 Loader - 2003 Komatsu WA500 Serial #
         .     A70446 (estimated forced sale value)                               $0.00                                        $50,000.00


         47.11 Loader - 2006 Komatsu WA500-6
         .     (estimated forced sale value)                                      $0.00                                        $95,000.00


         47.12 Excavator w/ Hammer - 2002 Komatsu
         .     PC300HD Serial #A85022 (estimated
                 forced sale value)                                               $0.00                                        $20,000.00




Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                   page 4
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Debtor      Plourde Sand & Gravel Co., Inc.                               Case number (If known)
            Name

         47.13 Excavator w/ Hammer - 1996 Komatsu
         .     PC300LC-6LC Serial # A80138
               (estimated forced sale value)                             $0.00                                $20,000.00


         47.14 Caterpillar Generator - Model # C 0400
         .     ID E18708 Serial # X4R00137 (estimated
               forced sale value)                                        $0.00                                $45,000.00


         47.15 Caterpillar Generator - Cat 3408 Serial #
         .     78203134 (estimated forced sale value)                    $0.00                                $15,000.00


         47.16 Caterpillar Generator - 3406 Serial #
         .     2WB14267 (estimated forced sale value)                    $0.00                                $15,000.00


         47.17 Caterpillar Generator - 3406 Serial #
         .     2WB06246 (estimated forced sale value)                    $0.00                                $15,000.00


         47.18 Caterpillar Generator - 3406 Serial #
         .     WB15358 (estimated forced sale value)                     $0.00                                $15,000.00


         47.19 Power Screener - Deutz Extec (Red)
         .     Serial # 6236 (estimated forced sale
               value)                                                    $0.00                                $25,000.00


         47.20 Power Screener - Deutz BF4M2023C
         .     Commander (Green) Serial # 21008226
               (estimated forced sale value)                             $0.00                                $35,000.00


         47.21 Power Screener - Americana 30 LXS
         .     Serial # 8811-03 (estimated forced sale
               value)                                                    $0.00                                $30,000.00


         47.22 Aggregate Equipment - Telsmith 5' cone
         .     portable screen (estimated forced sale
               value)                                                    $0.00                                $55,000.00


         47.23 Aggregate Equipment - Diamond 30x42
         .     on wheels with feeder (estimated forced
               sale value)                                               $0.00                                $40,000.00


         47.24 Aggregate Equipment - Cedarrapids
         .     32x42 Portable jaw crusher with switch
               control & feeder (estimated forced sale
               value)                                                    $0.00                                $70,000.00


         47.25 Rock Truck - 1980 CAT D350D Serial #
         .     9RF00063 (estimated forced sale value)                    $0.00                                $20,000.00




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                        page 5
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Debtor       Plourde Sand & Gravel Co., Inc.                                           Case number (If known)
             Name

          47.26 Rock Truck - 1980 CAT Rock Trucl Serial
          .     # 9RF00071 (estimated forced sale
                   value)                                                            $0.00                                        $20,000.00


          47.27 2012 F350 VIN: 1FT8W3BT2CEA46785
          .     (blown motor) (estimated forced sale
                   value)                                                            $0.00                                          $5,000.00


          47.28 2012 F250 VIN 1FT7W2BT8CEA75164
          .     (estimated forced sale value)                                        $0.00                                        $10,000.00


          47.29 2012 F350 VIN 1FT8X3BT3CEB03704
          .     (estimated forced sale value)                                        $0.00                                        $10,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Various aggregate parts etc equip. (estimated
          forced sale value)                                                         $0.00                                        $50,000.00




51.       Total of Part 8.                                                                                                   $940,000.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 6
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Debtor      Plourde Sand & Gravel Co., Inc.                              Case number (If known)
            Name

         55.1.   Vacant land at 523
                 West River Road,
                 Hooksett, NH.
                 Assessor's acct #
                 3636; Map 1, Block 2,
                 Lot 1, PID 5100. Land
                 use: sand & gravel.
                 Size: 6.7 acres.                                       $0.00    2022 Assessment             $389,100.00


         55.2.   Premises at 527 West
                 River Road,
                 Hooksett, NH.
                 Assessor's acct #
                 3637; Map 1, Block 2,
                 Lot 1, PID 3.
                 Building 1: Style:
                 Pre-Eng warehs. Year
                 Built: 1985. Living
                 area: 9,720. Building
                 Percent Good: 58.
                 Building 2: Style:
                 Office Bldg. Year
                 Built: 1985. Living
                 area: 556. Building
                 Percent Good: 52.
                 Building 3: Style:
                 Office Bldg. Year
                 Built: 2014. Living
                 area: 1,560. Building
                 Percent Good: 92.
                 Land use: sand &
                 gravel MDL-96. Size:
                 66.3 acres.                                            $0.00    2022 Assessment           $3,182,500.00


         55.3.   Vacant land in,
                 Hooksett, NH.
                 Assessor's acct #
                 3638; Map 1, Block 2,
                 Lot 3, PID 4. Land
                 use: UNPR REC.
                 Size: 6.0 acres.                                       $0.00    2022 Assessment                   $120.00


         55.4.   Vacant land in
                 Hooksett, NH.
                 Assessor's acct #
                 3639; Map 1, Block 2,
                 Lot 4, PID 5. Land
                 use: UNPR REC.
                 Size: 8.0 acres.                                       $0.00    2022 Assessment                   $160.00


         55.5.   Premises located at
                 13 Allenstown Rd,
                 Allenstown, NH. One
                 Story MH/Ofifice built
                 in 1980. Quality:
                 Avg-20. Land: 68.22
                 ac. Land Use:
                 COM/IND.                                               $0.00    Assessment                $1,372,200.00


Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property                          page 7
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Debtor        Plourde Sand & Gravel Co., Inc.                                             Case number (If known)
              Name



           55.6.    Premises located at
                    84 South Village Rd,
                    Loudon, NH. Parcel
                    ID 20-13, Map 20, Lot
                    13, PID
                    000020000013000000.
                    1.5 story Cape built
                    in 1936. Total Gross
                    Area: 1224 Quality:
                    Avg+20. Land: 17.4
                    acres. Land Use: 1F
                    RES.                                                                $0.00         Assessment                       $260,000.00


           55.7.    Vacant land in
                    Loudon, NH. Parcel
                    ID 20-26, Map 20, Lot
                    26, PID
                    000020000026000000.
                    Land: 13.9 acres.
                    Land Use: COM/IND.                                                  $0.00         Assessment                        $67,259.00


           55.8.    Vacant land at 91
                    Whittemore Rd.,
                    Pembroke NH. Map
                    ID: 634/ / 3/ /. REC
                    LAND. Parcel total
                    land area: 12.50
                    acres.                                                              $0.00         Assessment                        $69,800.00




56.        Total of Part 9.                                                                                                       $5,341,139.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 8
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Debtor        Plourde Sand & Gravel Co., Inc.                                              Case number (If known)
              Name

           Customer lists                                                                $0.00                                        Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                             $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 9
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Debtor          Plourde Sand & Gravel Co., Inc.                                                                     Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,484.97

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $120,000.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $2,750,000.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $40,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $940,000.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $5,341,139.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,851,484.97            + 91b.            $5,341,139.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $9,192,623.97




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 10
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Fill in this information to identify the case:

Debtor name         Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:           DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Granite Woods LLC                            Describe debtor's property that is subject to a lien                 $200,000.00                  Unknown
      Creditor's Name                              All Assets
      216 Bogue Rd
      Harwinton, CT 06791
      Creditor's mailing address                   Describe the lien
                                                   Writ of Attachment filed 4/11/2019
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      2016                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Greenlake Investment                         Describe debtor's property that is subject to a lien               $4,100,000.00                       $0.00
      Creditor's Name                              519 West River Rd, Hooksett; 13 Allenstown
                                                   Rd, Allenstown NH; and 84 S. Village Road ,
      1416 El Centro St, Suite 200                 Loudon
      South Pasadena, CA 91030
      Creditor's mailing address                   Describe the lien
                                                   Mortgage (cross-collateralized)
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/7/2013                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
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Debtor      Plourde Sand & Gravel Co., Inc.                                                       Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



      Greenlake Real Estate
2.3                                                                                                                          Unknown       Unknown
      Fund, LLC                                   Describe debtor's property that is subject to a lien
      Creditor's Name                             All business assets, including real estate
                                                  subject to mortgage lien.
      1416 El Centro St, #200
      South Pasadena, CA 91030
      Creditor's mailing address                  Describe the lien
                                                  UCC Lien
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.4   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $462,423.63     Unknown
      Creditor's Name                             All property
      CCP - Lien Unit
      P.O. Box 145595
      Stop 8420G, Team 203
      Cincinnati, OH 45250
      Creditor's mailing address                  Describe the lien
                                                  Federal Lien Index filed 6/27/2017
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/27/2017                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
                                                     Disputed
      priority.



2.5   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $199,080.97     Unknown
      Creditor's Name                             All property
      CCP - Lien Unit
      P.O. Box 145595
      Stop 8420G, Team 203
      Cincinnati, OH 45250
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 2 of 5
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Debtor      Plourde Sand & Gravel Co., Inc.                                                       Case number (if known)
            Name

                                                  Federal Lien Index filed 12/18/2017
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/18/2017                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.6   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $167,966.13     Unknown
      Creditor's Name                             All property
      CCP - Lien Unit
      P.O. Box 145595
      Stop 8420G, Team 203
      Cincinnati, OH 45250
      Creditor's mailing address                  Describe the lien
                                                  Federal Lien Index filed 12/7/2021
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/7/2021                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.7   Internal Revenue Service                    Describe debtor's property that is subject to a lien                      $23,083.58     Unknown
      Creditor's Name                             All property
      CCP - Lien Unit
      P.O. Box 145595
      Stop 8420G, Team 203
      Cincinnati, OH 45250
      Creditor's mailing address                  Describe the lien
                                                  Federal Lien Index filed 1/11/2022
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/11/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 5
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Debtor      Plourde Sand & Gravel Co., Inc.                                                       Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.8   Internal Revenue Service                    Describe debtor's property that is subject to a lien                     $659,437.56     Unknown
      Creditor's Name                             All property
      CCP - Lien Unit
      P.O. Box 145595
      Stop 8420G, Team 203
      Cincinnati, OH 45250
      Creditor's mailing address                  Describe the lien
                                                  Federal Lien Index filed 3/23/2022
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/23/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.9   Internal Revenue Service                    Describe debtor's property that is subject to a lien                      $23,083.58     Unknown
      Creditor's Name                             All property
      CCP - Lien Unit
      P.O. Box 145595
      Stop 8420G, Team 203
      Cincinnati, OH 45250
      Creditor's mailing address                  Describe the lien
                                                  Federal Lien Index filed 4/26/2022
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/26/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
0     Universal Finance Corp.                     Describe debtor's property that is subject to a lien                      $16,000.00     Unknown
      Creditor's Name                             All Assets including Caterpillar Model D350
                                                  Rock Truck (serial # 35DB2748) and 2005
                                                  Kenworth T800 Tri-Axle Dump Truck (serial #
      123 Haven Street                            1NKDXUTX15J072578)
      Reading, MA 01867

Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 4 of 5
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Debtor      Plourde Sand & Gravel Co., Inc.                                                       Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien
                                                  UCC Lien filed 8/30/2022
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2401
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




                                                                                                                           $5,851,075.4
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       5

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




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Fill in this information to identify the case:

Debtor name        Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:         DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Brian Amyot                                         Check all that apply.
          286 Cross Road                                         Contingent
          Pembroke, NH 03275                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          Week ending 1/28/2023                               Payroll
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Christopher L. McMichael                            Check all that apply.
          173-6 Loudon Road Apt #11                              Contingent
          Concord, NH 03301                                      Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          Week ending 1/28/2023                               Payroll
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 8
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Debtor      Plourde Sand & Gravel Co., Inc.                                                          Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Daniel Plourde                                     Check all that apply.
         P.O. Box 220                                          Contingent
         Suncook, NH 03275                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Dawn Plourde                                       Check all that apply.
         P.O. Box 220                                          Contingent
         Suncook, NH 03275                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Doug Bailey                                        Check all that apply.
         66 Pleasant Street                                    Contingent
         Hooksett, NH 03106                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Jeffrey Fielding                                   Check all that apply.
         P.O. Box 06                                           Contingent
         Suncook, NH 03275                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 2 of 8
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Debtor      Plourde Sand & Gravel Co., Inc.                                                          Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Karen L. Amyot                                     Check all that apply.
         286 Cross Road                                        Contingent
         Pembroke, NH 03275                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Katey P. LeBlanc                                   Check all that apply.
         9 Webster Street                                      Contingent
         Suncook, NH 03275                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Kyle M. Sweeney                                    Check all that apply.
         772 FlagholeRd.                                       Contingent
         Salisbury, NH 03268                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     Unknown   Unknown
         Michael Mondor                                     Check all that apply.
         512 West River Rd., Apt. 113                          Contingent
         Hooksett, NH 03106                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         Week ending 1/28/2023                              Payroll
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 3 of 8
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Debtor        Plourde Sand & Gravel Co., Inc.                                                            Case number (if known)
              Name

2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              $3,000.00         $0.00
           State of Maine Revenue                               Check all that apply.
           24 State House Station                                  Contingent
           Augusta, ME 04333-0024                                  Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           Various                                              Sales Tax
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes


2.12       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $51,031.00         $51,031.00
           Town of Allenstown Tax Collector                     Check all that apply.
           16 School Street                                        Contingent
           Suncook, NH 03275                                       Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           3 yr                                                 Real estate taxes re 13 Allenstown Rd
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes


2.13       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                           $576,170.00          $576,170.00
           Town of Hooksett Tax Collector                       Check all that apply.
           35 Main Street                                          Contingent
           Hooksett, NH 03106                                      Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           3 yr                                                 Real estate taxes
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes


2.14       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                             $22,440.00         $22,440.00
           Town of Loudon                                       Check all that apply.
           55 S. Village Rd                                        Contingent
           Loudon, NH 03307                                        Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           3 yr                                                 Real estate taxes
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 8
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Debtor      Plourde Sand & Gravel Co., Inc.                                                 Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,100.00
         Aries Engineering                                            Contingent
         104 Pleasant St                                              Unliquidated
         Concord, NH 03301                                            Disputed
         Date(s) debt was incurred   Nov 2022                      Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $33,331.00
         Austin Powder                                                Contingent
         P.O. Box 6049                                                Unliquidated
         Cleveland, OH 44194-6049                                     Disputed
         Date(s) debt was incurred 8-2022
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,332.00
         Betterforms                                                  Contingent
         1650 Elm St, Suite 202                                       Unliquidated
         Manchester, NH 03101                                         Disputed
         Date(s) debt was incurred Oct 2022
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $2,061.00
         Betterway Supply                                             Contingent
         P.O. Box 5881                                                Unliquidated
         Hooksett, NH 03106                                           Disputed
         Date(s) debt was incurred   Various                       Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,360.00
         BM Zapora                                                    Contingent
         33 Woodland Dr                                               Unliquidated
         Belmont, NH 03220                                            Disputed
         Date(s) debt was incurred   2021                          Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $1,000,000.00
         CLF                                                          Contingent
         62 Summer St.
                                                                      Unliquidated
         Boston, MA 02110
                                                                      Disputed
         Date(s) debt was incurred   2018
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,000.00
         Comcast                                                      Contingent
         P.O. Box 70219                                               Unliquidated
         Philadelphia, PA 19176-0219                                  Disputed
         Date(s) debt was incurred Ongoing
                                                                   Basis for the claim:    Utility service (internet)
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 8
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Debtor      Plourde Sand & Gravel Co., Inc.                                                 Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $14,672.00
         Cross Machine                                                Contingent
         167 Glen Ave.
                                                                      Unliquidated
         Berlin, NH 03570
                                                                      Disputed
         Date(s) debt was incurred   2017
         Last 4 digits of account number                           Basis for the claim:    Services
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $5,000.00
         Davis Fuels of Epsom                                         Contingent
         P.O. Box 101                                                 Unliquidated
         Epsom, NH 03234                                              Disputed
         Date(s) debt was incurred Jan 2023
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $55,000.00
         Dead River Fuel Company                                      Contingent
         159 Elm St.                                                  Unliquidated
         Manchester, NH 03101                                         Disputed
         Date(s) debt was incurred 2022
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $55,000.00
         DEVINE MILLIMET                                              Contingent
         111 AMHERST STREET
                                                                      Unliquidated
         BOX 719
         Manchester, NH 03105                                         Disputed

         Date(s) debt was incurred 2013-2017                       Basis for the claim:    Legal Services
         Last 4 digits of account number 3866                      Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $15,000.00
         Equipment East                                               Contingent
         61 Silva Lane                                                Unliquidated
         Dracut, MA 01826                                             Disputed
         Date(s) debt was incurred   2020                          Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $3,000.00
         Eversource                                                   Contingent
         P.O. Box 56003                                               Unliquidated
         Boston, MA 02205-6003                                        Disputed
         Date(s) debt was incurred ongoing
                                                                   Basis for the claim:    Utility service (electric)
         Last 4 digits of account number Various accounts
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $13,335.00
         Frank Spinella                                               Contingent
         1 Twin Pond Circle
                                                                      Unliquidated
         Exeter, NH 03833
                                                                      Disputed
         Date(s) debt was incurred   2013
         Last 4 digits of account number                           Basis for the claim:    Legal Services
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 8
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Debtor      Plourde Sand & Gravel Co., Inc.                                                 Case number (if known)
            Name

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $6,911.00
         Matt Brown Trucking                                          Contingent
         26 Thibeault Dr.                                             Unliquidated
         Bow, NH 03304                                                Disputed
         Date(s) debt was incurred   Sept 2022                     Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,000.00
         Mega X                                                       Contingent
         1560 Hooksett Rd.
                                                                      Unliquidated
         Hooksett, NH 03106
                                                                      Disputed
         Date(s) debt was incurred   2018
         Last 4 digits of account number                           Basis for the claim:    Trade debt
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $10,000.00
         MSHA                                                         Contingent
         201 12th St S, Suite 401
                                                                      Unliquidated
         Arlington, VA 22202-5450
                                                                      Disputed
         Date(s) debt was incurred Various
         Last 4 digits of account number                           Basis for the claim:    Mandatory Government Inspections
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $300,000.00
         NHDOL                                                        Contingent
         Spaulding Bldg                                               Unliquidated
         95 Pleasant St.
                                                                      Disputed
         Concord, NH 03301
         Date(s) debt was incurred   2018 - 2020                   Basis for the claim:    Fine, fees and penalties
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,181.00
         O'Reilly Auto Parts                                          Contingent
         162 Manchester St                                            Unliquidated
         Concord, NH 03301                                            Disputed
         Date(s) debt was incurred   Various                       Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $1,951.00
         Sanel Automotive                                             Contingent
         102 Old Tpk Rd                                               Unliquidated
         Concord, NH 03302                                            Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $7,000.00
         Sizemore Trucking                                            Contingent
         P.O. Box 431                                                 Unliquidated
         New Boston, NH 03070                                         Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim:    Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 8
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Debtor       Plourde Sand & Gravel Co., Inc.                                                        Case number (if known)
             Name

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,000.00
          St. Germain Trucking                                                 Contingent
          23 Birch Hill Dr.                                                    Unliquidated
          Hooksett, NH 03106                                                   Disputed
          Date(s) debt was incurred 2020
                                                                           Basis for the claim:    Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.23      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,100.00
          Stan & Pete dba Bow Recycling                                        Contingent
          330 River Rd                                                         Unliquidated
          Concord, NH 03301                                                    Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,861.01
          TMS Diesel                                                           Contingent
          58 B & B Lane                                                        Unliquidated
          Weare, NH 03281                                                      Disputed
          Date(s) debt was incurred   2020                                 Basis for the claim:    Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $500.00
          Verizon Wireless                                                     Contingent
          P.O. Box 15062                                                       Unliquidated
          Albany, NY 12212-5062                                                Disputed
          Date(s) debt was incurred Ongoing
                                                                           Basis for the claim:    Utility service (cellphones)
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          Wadleigh Starr and Peters                                            Contingent
          95 Market Street                                                     Unliquidated
          Manchester, NH 03101                                                 Disputed
          Date(s) debt was incurred Various
                                                                           Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                      652,641.00
5b. Total claims from Part 2                                                                           5b.   +    $                    1,568,695.01

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,221,336.01




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 8
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Fill in this information to identify the case:

Debtor name       Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:   DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Daniel O. Plourde           P.O. Box 220                                              Greenlake                          D   2.2
                                      Suncook, NH 03275                                         Investment                         E/F
                                      Guarantor
                                                                                                                                   G




   2.2    Dawn Plourde                P.O. Box 220                                              Greenlake                          D   2.2
                                      Suncook, NH 03275                                         Investment                         E/F
                                      Guarantor
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name           Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:                      DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                    $        5,341,139.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                       $        3,851,484.97

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                      $        9,192,623.97


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $        5,851,075.45


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $           652,641.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        1,568,695.01


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                             $           8,072,411.46




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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Fill in this information to identify the case:

Debtor name         Plourde Sand & Gravel Co., Inc.

United States Bankruptcy Court for the:     DISTRICT OF NEW HAMPSHIRE

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       January 30, 2023                X /s/ Daniel O. Plourde
                                                           Signature of individual signing on behalf of debtor

                                                            Daniel O. Plourde
                                                            Printed name

                                                            Sole Shareholder and Vice President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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B2030 (Form 2030) (12/15)
                                                         United States Bankruptcy Court
                                                              District of New Hampshire
 In re       Plourde Sand & Gravel Co., Inc.                                                                  Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $               UNKNOWN
             Prior to the filing of this statement I have received                                        $                       0.00
             Balance Due                                                                                  $               UNKNOWN

2.    $     1,738.00       of the filing fee has been paid.

3.    The source of the compensation paid to me was:
                  Debtor              Other (specify):

4.    The source of compensation to be paid to me is:
                  Debtor              Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
      e.    [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     January 30, 2023                                                         /s/ William S. Gannon BNH 01222
     Date                                                                     William S. Gannon BNH 01222
                                                                              Signature of Attorney
                                                                              William S. Gannon PLLC
                                                                              740 Chestnut Street
                                                                              Manchester, NH 03104
                                                                              603 621-0833
                                                                              bgannon@gannonlawfirm.com
                                                                              Name of law firm
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 Fill in this information to identify the case:
 Debtor name Plourde Sand & Gravel Co., Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW HAMPSHIRE                                                                           Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Austin Powder                                       Trade debt                                                                                                  $33,331.00
 P.O. Box 6049
 Cleveland, OH
 44194-6049
 BM Zapora                                           Trade debt                                                                                                    $5,360.00
 33 Woodland Dr
 Belmont, NH 03220
 CLF                                                                           Contingent                                                                    $1,000,000.00
 62 Summer St.                                                                 Unliquidated
 Boston, MA 02110                                                              Disputed
 Cross Machine                                       Services                  Contingent                                                                        $14,672.00
 167 Glen Ave.                                                                 Unliquidated
 Berlin, NH 03570                                                              Disputed
 Dead River Fuel                                     Trade debt                                                                                                  $55,000.00
 Company
 159 Elm St.
 Manchester, NH
 03101
 DEVINE MILLIMET                                     Legal Services            Contingent                                                                        $55,000.00
 111 AMHERST                                                                   Unliquidated
 STREET                                                                        Disputed
 BOX 719
 Manchester, NH
 03105
 Equipment East                                      Trade debt                                                                                                  $15,000.00
 61 Silva Lane
 Dracut, MA 01826
 Frank Spinella                                      Legal Services            Contingent                                                                        $13,335.00
 1 Twin Pond Circle                                                            Unliquidated
 Exeter, NH 03833                                                              Disputed
 Greenlake                                           519 West River                                     $4,100,000.00                         $0.00          $4,100,000.00
 Investment                                          Rd, Hooksett; 13
 1416 El Centro St,                                  Allenstown Rd,
 Suite 200                                           Allenstown NH;
 South Pasadena, CA                                  and 84 S. Village
 91030                                               Road , Loudon



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Plourde Sand & Gravel Co., Inc.                                                           Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Matt Brown                                          Services                                                                                                      $6,911.00
 Trucking
 26 Thibeault Dr.
 Bow, NH 03304
 Mega X                                              Trade debt                Contingent                                                                        $10,000.00
 1560 Hooksett Rd.                                                             Unliquidated
 Hooksett, NH 03106                                                            Disputed
 MSHA                                                Mandatory                 Contingent                                                                        $10,000.00
 201 12th St S, Suite                                Government                Unliquidated
 401                                                 Inspections               Disputed
 Arlington, VA
 22202-5450
 NHDOL                                               Fine, fees and            Disputed                                                                        $300,000.00
 Spaulding Bldg                                      penalties
 95 Pleasant St.
 Concord, NH 03301
 Sizemore Trucking                                   Services                                                                                                      $7,000.00
 P.O. Box 431
 New Boston, NH
 03070
 St. Germain                                         Services                                                                                                      $7,000.00
 Trucking
 23 Birch Hill Dr.
 Hooksett, NH 03106
 TMS Diesel                                          Services                                                                                                      $8,861.01
 58 B & B Lane
 Weare, NH 03281
 Town of Allenstown                                  Real estate taxes                                                                                           $51,031.00
 Tax Collector                                       re 13 Allenstown
 16 School Street                                    Rd
 Suncook, NH 03275
 Town of Hooksett                                    Real estate taxes                                                                                         $576,170.00
 Tax Collector
 35 Main Street
 Hooksett, NH 03106
 Town of Loudon                                      Real estate taxes                                                                                           $22,440.00
 55 S. Village Rd
 Loudon, NH 03307
 Wadleigh Starr and                                  Legal Services                                                                                                $6,000.00
 Peters
 95 Market Street
 Manchester, NH
 03101




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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                                           United States Bankruptcy Court
                                                District of New Hampshire
 In re   Plourde Sand & Gravel Co., Inc.                                               Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Plourde Sand & Gravel Co., Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




January 30, 2023                                 /s/ William S. Gannon BNH 01222
Date                                             William S. Gannon BNH 01222
                                                 Signature of Attorney or Litigant
                                                 Counsel for Plourde Sand & Gravel Co., Inc.
                                                 William S. Gannon PLLC
                                                 740 Chestnut Street
                                                 Manchester, NH 03104
                                                 603 621-0833
                                                 bgannon@gannonlawfirm.com
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                                             United States Bankruptcy Court
                                                    District of New Hampshire
 In re   Plourde Sand & Gravel Co., Inc.                                                      Case No.
                                                                   Debtor(s)                  Chapter      11




                            VERIFICATION OF CREDITOR MAILING LIST


         The above named debtor hereby certifies under penalty of perjury that the attached master mailing list of creditors, consisting
of 4 pages is complete, correct and consistent with the debtor’s schedules pursuant to LBRs and assumes all responsibility for
errors and omissions.



Date: January 30, 2023                                              /s/ Daniel O. Plourde
                                                                    Debtor Signature
                                                                    Daniel O. Plourde
                                                                    Print Name
                                                                    Address 519-523 W. River Rd.
                                                                    Hooksett NH 03106-0000
                                                                    Tel. No.




LBF 1007-2 (Eff. 11/1/16)
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                        Aries Engineering
                        104 Pleasant St
                        Concord, NH 03301

                        Austin Powder
                        P.O. Box 6049
                        Cleveland, OH 44194-6049

                        Betterforms
                        1650 Elm St, Suite 202
                        Manchester, NH 03101

                        Betterway Supply
                        P.O. Box 5881
                        Hooksett, NH 03106

                        BM Zapora
                        33 Woodland Dr
                        Belmont, NH 03220

                        Brian Amyot
                        286 Cross Road
                        Pembroke, NH 03275

                        Christopher L. McMichael
                        173-6 Loudon Road Apt #11
                        Concord, NH 03301

                        CLF
                        62 Summer St.
                        Boston, MA 02110
                        Comcast
                        P.O. Box 70219
                        Philadelphia, PA 19176-0219

                        Cross Machine
                        167 Glen Ave.
                        Berlin, NH 03570

                        Daniel Plourde
                        P.O. Box 220
                        Suncook, NH 03275

                        Davis Fuels of Epsom
                        P.O. Box 101
                        Epsom, NH 03234

                        Dawn Plourde
                        P.O. Box 220
                        Suncook, NH 03275

                        Dead River Fuel Company
                        159 Elm St.
                        Manchester, NH 03101
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                    DEVINE MILLIMET
                    111 AMHERST STREET
                    BOX 719
                    Manchester, NH 03105

                    Doug Bailey
                    66 Pleasant Street
                    Hooksett, NH 03106

                    Equipment East
                    61 Silva Lane
                    Dracut, MA 01826

                    Eversource
                    P.O. Box 56003
                    Boston, MA 02205-6003

                    Frank Spinella
                    1 Twin Pond Circle
                    Exeter, NH 03833

                    Granite Woods LLC
                    216 Bogue Rd
                    Harwinton, CT 06791

                    Greenlake Investment
                    1416 El Centro St, Suite 200
                    South Pasadena, CA 91030
                    Greenlake Real Estate Fund, LLC
                    1416 El Centro St, #200
                    South Pasadena, CA 91030

                    Internal Revenue Service
                    CCP - Lien Unit
                    P.O. Box 145595
                    Stop 8420G, Team 203
                    Cincinnati, OH 45250

                    Jeffrey Fielding
                    P.O. Box 06
                    Suncook, NH 03275

                    Karen L. Amyot
                    286 Cross Road
                    Pembroke, NH 03275

                    Katey P. LeBlanc
                    9 Webster Street
                    Suncook, NH 03275

                    Kyle M. Sweeney
                    772 FlagholeRd.
                    Salisbury, NH 03268
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                    Matt Brown Trucking
                    26 Thibeault Dr.
                    Bow, NH 03304

                    Mega X
                    1560 Hooksett Rd.
                    Hooksett, NH 03106

                    Michael Mondor
                    512 West River Rd., Apt. 113
                    Hooksett, NH 03106

                    MSHA
                    201 12th St S, Suite 401
                    Arlington, VA 22202-5450

                    NHDOL
                    Spaulding Bldg
                    95 Pleasant St.
                    Concord, NH 03301

                    O'Reilly Auto Parts
                    162 Manchester St
                    Concord, NH 03301

                    Sanel Automotive
                    102 Old Tpk Rd
                    Concord, NH 03302
                    Sizemore Trucking
                    P.O. Box 431
                    New Boston, NH 03070

                    St. Germain Trucking
                    23 Birch Hill Dr.
                    Hooksett, NH 03106

                    Stan & Pete dba Bow Recycling
                    330 River Rd
                    Concord, NH 03301

                    State of Maine Revenue
                    24 State House Station
                    Augusta, ME 04333-0024

                    TMS Diesel
                    58 B & B Lane
                    Weare, NH 03281

                    Town of Allenstown Tax Collector
                    16 School Street
                    Suncook, NH 03275
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                    Town of Hooksett Tax Collector
                    35 Main Street
                    Hooksett, NH 03106

                    Town of Loudon
                    55 S. Village Rd
                    Loudon, NH 03307

                    Universal Finance Corp.
                    123 Haven Street
                    Reading, MA 01867

                    Verizon Wireless
                    P.O. Box 15062
                    Albany, NY 12212-5062

                    Wadleigh Starr and Peters
                    95 Market Street
                    Manchester, NH 03101
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                                                      United States Bankruptcy Court
                                                               District of New Hampshire
 In re    Plourde Sand & Gravel Co., Inc.                                                                         Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Daniel O. Plourde                                                                 100%                                       Stocks
P.O. Box 220
Suncook, NH 03275


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Sole Shareholder and Vice President of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



Date January 30, 2023                                                    Signature /s/ Daniel O. Plourde
                                                                                        Daniel O. Plourde

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
